                     Case 3:18-cv-00110-JCH Document 47 Filed 02/01/18 Page 1 of 1
                                                                                                           Civil- (Dec-2008)
                                                      HONORABLE: Janet C. Hall
                            DEPUTY     CLERKDiahann Lewis      RPTR/ECRO/TAPETerri Fidanza
TOTAL TIME:                  hours 58 minutes
                               DATE: 2/1/2018         START TIME: 2:30                   END TIME: 3:28
                                                   LUNCH RECESS        FROM:                    TO:
                                           RECESS (if more than ½ hr)  FROM:                    TO:

CIVIL NO. 3:18cv110 (JCH)


             Doe                                                               Belcheck/Bernstein
                                                                                      Plaintiff’s Counsel
                               vs
             Yale et al                                                        Patrick Noonan
                                                                                      Defendant’s Counsel

                                          COURTROOM MINUTES- CIVIL

                   ✔ Motion hearing                             Show Cause Hearing
                          Evidentiary Hearing                   Judgment Debtor Exam
                   ✔ Miscellaneous Hearing


✔ .....#2          Motion to proceed with fictitious name/protective order     ✔ granted        denied     advisement
    .....#         Motion                                                         granted       denied      advisement
    .....#         Motion                                                         granted       denied      advisement
    .....#         Motion                                                         granted       denied      advisement
    .....#         Motion                                                         granted       denied      advisement
   .....#          Motion                                                         granted       denied     advisement
   .....#          Motion                                                         granted       denied     advisement
✔ .....            Oral Motion for counsel to be excused from court appear.    ✔ granted        denied     advisement
   .....           Oral Motion                                                    granted       denied      advisement
   .....           Oral Motion                                                    granted       denied      advisement
  .....            Oral Motion                                                    granted       denied      advisement
   .....               Briefs(s) due                   Proposed Findings due                Response due

Pretrial Conference/Motion Hearing held on 2/1/2018; granting [46] Oral Motion to excuse counsel from
court proceedngs; granting [2] Motion for Protective Order; granting [2] Motion to Proceed in Fictitious
Name; Requests for Production served no later than 2/7; plaintiffs have 30 days for objections and
production; defendants have 30 days for objections with rolling production starting as soon as possible, with
all production to be completed within 45 days; paper discovery shall be completed by 3/26; fact depositions
to be completed by 4/25; plaintiff to disclose experts by 5/16; dfts to depose pltff experts by 6/6; dfts to
disclose experts by 6/22; plaintiff to depose dfts experts by 7/6; pretrial memo due 7/13; for any discovery
disputes, counsel to promptly submit a short letter to chambers with only disputed requests attached; Jury
Selection set for 7/25; evidence to begin on 8/8; by mid May counsel to submit a letter proposing the jury
size.
